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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

 Gene H. Shioda – SBN 186780
 ghs@slclawoffice.com
 Christopher J. Langley – SBN 258851
 chris@slclawoffce.com
 Steven P. Chang – SBN 221783
 schang@slclawoffice.com
 SHIODA, LANGLEY & CHANG LLP
 1063 E. Las Tunas Dr.
 San Gabriel, CA 91776
 Tel: (626)281-1232
 Fax: (626)281-2919


      Individual appearing without attorney
      Attorney for: Jinzheng Group (USA), LLC

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

 In re:                                                                       CASE NO.: 2:21-bk-16674-ER
                                                                              CHAPTER: 11
JINZHENG GROUP (USA), LLC
                                                                              NOTICE OF MOTION FOR:

                                                                              MOTION TO CHANGE MEMBERSHIP AND DISBAND
                                                                              OFFICIAL COMMITTEE OF UNSECURED CREDITORS
                                                                              PURSUANT TO 11 U.S.C. §§ 1102(a)(4) AND 105(a)



                                                                              (Specify name of Motion)

                                                                              DATE: 03/22/2022
                                                                              TIME: 10:00 am
                                                                              COURTROOM: 1568
                                                                              PLACE: 255 E. Temple Street, Los Angeles, CA 90012


                                                              Debtor(s).

                       Official Committee of Unsecured Creditors, U.S. Trustee and All Parties in Interest
1. TO (specify name): _____________________________________________________________________________

2. NOTICE IS HEREBY GIVEN that on the following date and time and in the indicated courtroom, Movant in the above-
   captioned matter will move this court for an Order granting the relief sought as set forth in the Motion and
   accompanying supporting documents served and filed herewith. Said Motion is based upon the grounds set forth in
   the attached Motion and accompanying documents.

3. Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you
   have one. (If you do not have an attorney, you may wish to consult one.)




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                          F 9013-1.1.+($5,1*NOTICE
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4. Deadline for Opposition Papers: This Motion is being heard on regular notice pursuant to LBR 9013-1. If you wish
   to oppose this Motion, you must file a written response with the court and serve a copy of it upon the Movant or
   Movant’s attorney at the address set forth above no less than fourteen (14) days prior to the above hearing date. If
   you fail to file a written response to this Motion within such time period, the court may treat such failure as a waiver of
   your right to oppose the Motion and may grant the requested relief.

5. Hearing Date Obtained Pursuant to Judge’s Self-Calendaring Procedure: The undersigned hereby verifies that
   the above hearing date and time were available for this type of Motion according to the judge’s self-calendaring
   procedures.


Date: 03/01/2022                                                               SHIODA, LANGLEY & CHANG LLP
                                                                               Printed name of law firm




                                                                               /s/Christopher J. Langley
                                                                                Signature


                                                                               Christopher J. Langley
                                                                               Printed name of attorney




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                        Page 2                              )+($5,1*127,&(
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  1   Gene H. Shioda – SBN 186780
      ghs@slclawoffice.com
  2   Christopher J. Langley – SBN 258851
      chris@slclawoffce.com
  3
      Steven P. Chang – SBN 221783
  4   schang@slclawoffice.com
      SHIODA, LANGLEY & CHANG LLP
  5   1063 E. Las Tunas Dr.
      San Gabriel, CA 91776
  6   Tel: (626)281-1232
      Fax: (626)281-2919
  7
  8   Counsel for Jinzheng Group (USA) LLC
      Debtor and Debtor-in-Possession
  9
 10                         UNITED STATES BANKRUPTCY COURT

 11            CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 12
 13    In re                                           Case No. 2:21-bk-16674-ER

 14                                                    Chapter 11
       JINZHENG GROUP (USA) LLC
 15                                                    MOTION TO CHANGE MEMBERSHIP
 16                                                    AND DISBAND OFFICIAL COMMITTEE
                Debtor and Debtor in Possession.       OF UNSECURED CREDITORS
 17                                                    PURSUANT TO 11 U.S.C. §§ 1102(a)(4)
                                                       AND 105(a)
 18
                                                       DECLARATION OF CHRISTOPHER J.
 19                                                    LANGLEY IN SUPPORT THEREOF
 20
 21                                                    Hearing:

 22                                                    Date:        March 22, 2022
                                                       Time:        10:00 a.m.
 23
                                                       Location:    Courtroom 1568
 24                                                                 255 E. Temple St.
                                                                    Los Angeles, CA 90012
 25
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  1      I.        INTRODUCTION
  2             By this Motion, Jinzheng Group (USA), LLC (“Debtor”) moves for an order to change
  3   membership and disband the Official Committee of Unsecured Creditors (“Committee”) pursuant
  4   to 11 U.S.C. §§ 1102(a)(4) and 105(a). The Committee consists of three members: Betula Lenta,
  5   Inc. (“Betula”), Pennington Construction Advisors, Inc. (“Pennington”), and The Phalanx Group,
  6   Inc. (“Phalanx”). Each of the members have filed proofs of claim. Debtor has objected to each of
  7   their claims, which are set for hearing concurrently with this Motion.
  8             The Committee does not and cannot adequately represent the interests of unsecured
  9   creditors. Betula is an insider with an actual and unavoidable conflict of interest as it is currently
 10   being sued by Debtor for breach of contract, intentional misrepresentation, and negligence.
 11   Pennington is a creditor of Betula—not Debtor. And Phalanx admits it was not licensed to
 12   perform the services contracted for and, to date, has failed to provide any explanation or
 13   documentation for the services it allegedly provided Debtor. Therefore, Betula, Pennington, and
 14   Phalanx should be removed as members of the Committee.
 15             The Committee should be disbanded because there is no need for its services. Within days,
 16   Debtor will propose a reorganization plan that will pay allowed general unsecured claims in full.
 17   Debtor disputes most, if not all, of the general unsecured claims that have been filed against the
 18   estate and is prosecuting claim objections. To date, ten proofs of claim asserting general
 19   unsecured claims have been filed. Five of those holders are already represented by counsel. The
 20   other five holders assert claims that Debtor has already objected to or will be objecting to. The
 21   Committee was appointed five months after the Petition Date and is being organized by Betula to
 22   thwart Debtor’s new counsel for investigating and prosecuting its mismanagement claims against
 23   Betula.
 24             Accordingly, good cause exists to grant this Motion. Debtor respectfully requests the
 25   Court enter an order that (i) removes Betula, Pennington, and Phalanx as members of the
 26   Committee, and (ii) disbands the Committee, pursuant to 11 U.S.C. §§ 1102(a)(4) and 105(a).
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  1      II.      STATEMENT OF FACTS
  2               A.      The Debtor and Real Property
  3            Debtor is a single member LLC that is wholly owned by Mr. Jiaqing Yang. Mr. Yang
  4   currently resides in China and has not been to the United States since the global outbreak of
  5   Covid-19. Debtor was managed by Betty Zheng.
  6            Between August 2016 and July 2017, the Debtor acquired approximately 32 contiguous
  7   acres in Los Angeles that it intended to develop (the “Los Angeles Properties”). All funds used to
  8   obtain the Los Angeles Properties were contributed by Mr. Yang as capital contributions into the
  9   Debtor. The Los Angeles Properties have a collectively value of $26,316,600. They are cross-
 10   collateralized with a first priority deed of trust held by Royal Equity Lending to secure the amount
 11   of $9,353,009. POC 2. They are also encumbered with a tax lien for tax years 2019 and 2020.
 12   (The Debtor is current on property taxes in 2021.) POC 1. A table summarizing the Debtor’s real
 13   property holdings is attached to the Langley Declaration as Exhibit 1.
 14            To further fund the development of the Los Angeles Properties, Mr. Yang transferred to
 15   the Debtor two single family homes that he personally owned (“Transferred Properties”) and
 16   which the Debtor borrowed against. See Langley Dec., Ex. 1.
 17               B.      The Debtor Contracts with Betula Lenta, Inc. to Develop the
 18                       Los Angeles Properties
 19            Beginning in December 2017, Ms. Zheng caused the Debtor to contract with Betula Lenta,
 20   Inc. (“Betula”), a real estate consultancy company, to assist it with the development of the Los
 21   Angeles Properties. Betula describes itself as “a team of the best real estate consultants providing
 22   solutions for real estate investors looking for opportunities to invest in development or investors
 23   for their developments.” https://www.betulalenta.com/about-us. Betula was directed by Jonathan
 24   Pae and David Park.
 25            Ultimately, Debtor and Betula entered into three contracts (collectively, the “Betula
 26   Agreements”):
 27                   A “Predevelopment Consulting Agreement” dated December 7, 2017, in which the
 28                    Debtor agreed to pay Betula $2,594,000 for consulting services.


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  1                    A “Construction Management Agreement” dated June 22, 2018, in which the
  2                     Debtor agreed to pay Betula an additional $4,517,913.00 for “phase 2” services.1
  3                    A “CFD Bonds Procurement – CM – Development Agreement” dated March 13,
  4                     2019, in which the Debtor agreed to pay Betula an additional $6,224,490.00 for
  5                     “construction” services.
  6           While the Betula Agreements totaled over $13,336,903.00 and much of the fees were paid,
  7   the Los Angeles Properties remain unentitled and undeveloped.
  8                C.       The Bankruptcy Case and Debtor’s Employment of New Counsel
  9           On August 24, 2021, Ms. Zheng and Betula caused the Debtor to file a voluntary petition
 10   under Chapter 11, initiating this Bankruptcy Case.
 11           Betula and Mr. Pae were personally involved with the Debtor’s bankruptcy filing. Mr.
 12   Pae, as CEO of Betula, signed the Debtor’s corporate authorization to file this bankruptcy case.
 13   Doc. 14 (Corporate Authorization). Likewise, Debtor’s SOFA, filed by its former attorney, Donna
 14   Bullock, represents that Betula owned a 10% interest in the Debtor. Doc. 30 (SOFA). It also
 15   represents that the Debtor paid $324,194 to Betula on “1/1 & 4/22/21” for the purpose of
 16   “Developer/Project Manager.” Id. Copies of the Corporate Authorization and SOFA are attached
 17   to the Langley Declaration as Exhibit 6. 2
 18           On November 29, 2021, Ms. Zheng resigned as the Debtor’s manager when its new
 19   counsel, Shioda Langley & Chang, LLP (“SLC”), began inquiring about the Debtor’s dealings
 20   with Betula, Mr. Pae, and Mr. Park.
 21           On December 6, 2021, the Debtor filed a substitution of attorney naming SLC as its new
 22   counsel. That same day, the Debtor filed a motion to employ new counsel and a motion to set a
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 24   1
       It appears that to pay for this contract, Betula assisted Debtor in obtaining a short-term loan (18 months) for
      $7,000,000 from BOBS LLC with a balloon payment due April 1, 2020. BOBS LLC later transferred the claim to
 25   Royalty Equity Lending (POC 2).
      2
 26     Ms. Bullock has described Betula as the “Project Manager” for the Debtor’s development of the Los Angeles
      Properties, and was responsible for, among other things, obtaining financing for the project and employing Ms.
 27   Bullock to file this bankruptcy case. See Opposition to Motion by Debtor to Determine Whether Compensation Paid
      to Counsel Was Excessive Under 11 USC § 329 and FRBP 2017 [Doc. 101] at 4-7; Declaration of Donna Bullock in
      Opposition to Motion by Debtor to Determine Whether Compensation Paid to Counsel Was Excessive [Doc. 103] at
 28   ¶¶ 2-5. In these pleadings, Ms. Bullock repeatedly refers to Betula, specifically Mr. Pae and Mr. Park, as party to
      Debtor’s management team.

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  1   claims bar date. Doc. 49 (SLC Employment App); Doc. 51 (Motion for Bar Date). The Debtor’s
  2   new counsel bills at the hourly rates of $360 (associates) to $450 (partners), and $180 for
  3   paralegals. Doc. 49 (SLC Employment App).
  4          Shortly thereafter, SLC started formally investigating the Debtor’s dealings with Betula by
  5   noticing the 2004 examinations of Mr. Pae and Mr. Park. See Doc. 60, 72, 73 (Orders Approving
  6   2004 Examinations). To date, neither Mr. Pae nor Mr. Park have appeared for their 2004
  7   examinations. Pursuant to a stipulation by the Parties, Mr. Pae and Mr. Park are to appear for their
  8   examinations on March 2 and 3, 2022, respectively.
  9          The claims bar date was February 4, 2022. Doc. 55 (Order Setting Last Day to File
 10   Claim). To date, twenty-one (21) proofs of claim have been filed against the Debtor’s bankruptcy
 11   estate. A table summarizing the proofs of claim filed is attached to the Langley Declaration as
 12   Exhibit 2.
 13                D.    The State Court Action
 14          On February 7, 2022, Debtor filed a complaint against two sets of defendants (i) Mr. Pae,
 15   Mr. Park, and Betula (the “Betula Parties”), and (ii) Ms. Zheng and her real estate company, CBW
 16   Global, Inc. (the “Zheng Parties”), with the Superior Court of California, County of Los Angeles,
 17   initiating Jinzheng Group (USA), LLC v. Pae et al, Case No. 22STCV04623 (“SC Action”). A
 18   copy of the complaint (“SC Complaint”) is attached to the Langley Declaration as Exhibit 3.
 19          In the SC Complaint, the Debtor alleges that Betula is the alter ego of Mr. Pae and Mr.
 20   Park, and that CBW Global is the alter ego of Ms. Zheng. The Debtor alleges that Ms. Zheng
 21   introduced the Debtor’s sole managing member, Mr. Yang, to Mr. Pae and Mr. Park, on behalf of
 22   themselves and Betula, to assist Debtor in developing the Los Angeles Properties. The Debtor
 23   alleges that Ms. Zheng, Mr. Pae, and Mr. Park conspired to charge it over $12 million in false
 24   service fees pursuant to the Betula Agreements described above.
 25          The SC Complaint pleads causes of action for (i) breach of contract against the Betula
 26   Parties, (ii) intentional misrepresentation against the Betula and Zheng Parties, (iii) negligent
 27   misrepresentation against the Betula and Zheng Parties, (iv) negligence against the Betula and
 28   Zheng Parties, (v) breach of fiduciary duty against the Zheng Parties, (vi) aiding and abetting


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  1   against the Betula and Zheng Parties, an (vii) unfair business practices against the Betula and
  2   Zheng Parties. The Debtor seeks general damages in excess of $5,000,000, plus special damages,
  3   punitive damages, and attorney’s fees and costs.
  4          To date, the Betula and Zheng Parties have not responded to the complaint.
  5              E.      The Appointment of the Committee and Debtor’s Objections to Committee
  6                      Members’ Claims
  7          On January 25, 2022, the United States Trustee (“UST”) filed a notice appointing the
  8   Committee, including Betula, Pennington, and Phalanx. Doc. 93.
  9          Each of the Committee’s members have filed proofs of claim. Debtor has objected to each
 10   those claims, which are set for hearing concurrently with this Motion.
 11                       1.      The Betula Claim (POC 18) and Betula Claim Objection [Doc. 120]
 12          Betula filed a proof of claim (POC 18) for a general unsecured claim in the amount of
 13   $1,643,977.00 (“Betula Claim”). The basis of the Betula Claim is “Services performed. Expenses
 14   paid to 3rd parties per contract. Consulting.” It attaches copies of the Betula Agreements but does
 15   not provide any narrative or accounting beyond that.
 16          In response to SLC’s requests, Betula has provided a summary that is devoid of
 17   meaningful detail (other than acknowledging Debtor paid $6,971,726 to Betula):
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      Betula Claim Objection [Doc. 120], Langley Dec., Ex. B (Email from Betula counsel).
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  1            On February 19, 2022, Debtor objected to the Betula Claim [Doc. 120] (“Betula Claim
  2   Objection”), arguing that Betula, Mr. Pae, and Mr. Park have not (i) provided a report describing
  3   the services Betula provided to Debtor under the Betula Agreements, (ii) explained why it is
  4   entitled to payment on 65% of the contracted services, or (iii) appeared to testify at the 2004
  5   examinations of Mr. Pae and Mr. Park (which are now scheduled for March 2 and 3, 2022).
  6                          2.      The Pennington Claim (POC 20) and Pennington Claim Objection
  7                                  [Doc. 107]
  8            Pennington filed a proof of claim (POC 20) for a general unsecured claim in the amount of
  9   $75,000.00 (“Pennington Claim”). The basis of the Pennington Claim is “Services performed per
 10   contract and not paid.” Emphasis added. It attaches copies of proposals and agreements between
 11   it and Betula. Debtor is not a party to those proposals and agreements. The Pennington Claim
 12   does not attach any agreement between it and Debtor.
 13            On February 16, 2020, Debtor objected to the Pennington Claim [Doc. 107] (“Pennington
 14   Claim Objection”), arguing that there is no contract between Debtor and Pennington and therefore
 15   the Pennington Claim (based on contract) must be disallowed.
 16                          3.      The Phalanx Claim (POC 17)
 17            Phalanx filed a proof of claim (POC 17) for a general unsecured claim in the amount of
 18   $158,845.00 (“Phalanx Claim”). The basis of the Phalanx Claim is “services performed.” It
 19   attaches a copy of a “Security Consulting Agreement” between Phalanx and Debtor.3 The
 20   agreement’s recitals define Phalanx as either a “Security Company” or “Security Consultant” that
 21   “operates a business of providing security recommendations and management services of security
 22   related matters.” It further recites that “[Phalanx] desires to provide security and patrol services
 23   recommendation to [Debtor] at [Debtor’s] property and [Debtor] desires to obtain such services
 24   from [Phalanx].”
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        The Security Consulting Agreement was signed by Anthony Rodriguez on behalf of Phalanx on May 1, 2019, and by
      Betty Zheng on behalf of Debtor on August 1, 2019. Phalanx Claim, Part 2 (Security Consulting Agreement) at 5 (of
 28   6). It is not clear why three months passed between the parties executing the agreement. Nonetheless, Phalanx issued
      invoices to Betula (not Debtor) on April 29, June 1, July 1, and August 1, 2019. Id., Part 4 (Invoices) at 1-4 (of 32).

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  1          On February 17, 2022, Debtor objected to the Phalanx Claim [Doc. 1133] (“Phalanx Claim
  2   Objection”), arguing there is no evidence that Phalanx actually performed the services contracted
  3   for or that Phalanx (as a private patrol operator) was licensed to perform such security consulting
  4   services. See Bus. & Prof. Code § 7582.3, L.A. Municipal Code § 52.34(b).
  5          In response to the Phalanx Claim Objection, a legal assistant for Phalanx’s counsel sent an
  6   email to SLC that (i) acknowledged Phalanx does not have a private patrol operator license, (ii)
  7   insisted Phalanx provided “consultation for security issues and not actual private guard work for
  8   which a security license is required”, and (iii) represented that none of the fees owed are for any
  9   guard services or for services provided by a 3rd party vendor. A copy of said email is attached to
 10   the Langley Declaration as Exhibit 4. To date, Phalanx has not provided any explanation of what
 11   “consultation” services it provided Debtor to justify its claim against Debtor’s bankruptcy estate.
 12                F.    Debtor’s Efforts to Meet and Confer with U.S. Trustee to Reconsider Its
 13                      Appointment of the Committee
 14          On February 1, 2022, SLC sent a letter to the Hatty Yip, Trial Attorney with the Office of
 15   the United States Trustee (“UST”), asking her to reconsider her office’s appointment of the
 16   Committee. A copy of said letter is attached to the Langley Declaration as Exhibit 5. Ms. Yip
 17   responded that she would look into Debtor’s concerns. To date, however, the UST has not taken
 18   any action to address them.
 19          On February 8, 2022, the Committee filed an application to employ Pachulski Stang Ziehl
 20   & Jones LLP (“PSZJ”) as counsel. Doc. 98. PSZJ’s attorneys bill at the hourly rates of $975 to
 21   $1,145 (partners), and $495 for paralegals. PSZJ’s attorneys bill at hourly rates that are more than
 22   double that of Debtor’s counsel. Even PSZJ’s paralegals bill at rates higher than Debtor’s
 23   attorneys.
 24          On February 22, 2022, Debtor objected to the PSZJ employment application and requested
 25   a hearing. Doc. 125.
 26                G.    The Debtor’s Proposed Reorganization
 27          Before the hearing on this Motion, Debtor will propose a plan of reorganization that will
 28   restructure the secured debt against the Los Angeles Properties, sell the San Marino Property, sell


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  1   or refinance the Van Nuys Property, and pay all allowed general unsecured claims in full after
  2   claim objections and pending state court litigation. The plan will be funded by capital
  3   contributions by Debtor’s principal, Mr. Yang As the plan will pay allowed general unsecured
  4   claims in full, Debtor believes there is no need for the Committee in this case.
  5                H.     The Requested Relief
  6             By this Motion, the Debtor asks the Court to order the UST to (i) change the membership
  7   of the Committee by removing Betula, Pennington, and Phalanx as members, and (ii) disband the
  8   Committee pursuant to 11 U.S.C. § 1102.
  9      III.      ARGUMENT
 10                 A.    Applicable Law
 11             Section 1102(a)(1) requires the UST to appoint a committee of creditors holding unsecured
 12   claims. However, on request of a party in interest and after notice and hearing, the court may
 13   order the UST to change the membership of a committee appointed, if the court determines that
 14   the change is necessary to ensure adequate representation of creditors or equity security holders.
 15   11 U.S.C. § 1102(a)(4). Likewise, the court may issue any order appropriate or necessary to carry
 16   out the provisions of the Code. 11 U.S.C. § 105(a); In re Shorebank Corp., 467 B.R. 156, 160
 17   (Bankr. N.D. Ill. 2012) (“Despite the repeal of section 1102(c), however, courts continued to inject
 18   themselves into the committee process, often invoking section 105(a) ... as a basis for ‘reviewing
 19   the U.S. Trustee’s appointments.”).
 20             Courts review “adequate representation” under § 1102(a)(4) independently of the UST’s
 21   decision. Shorebank, 467 B.R. at 161-162. The bankruptcy court does not serve an appellate
 22   function or a role akin to administrative review. Id. Instead, the Code “explicitly permits litigants
 23   to seek judicial review of the UST’s administrative acts. In re Cont’l Cast Stone, 625 B.R. 203,
 24   207 (Bankr. D. Kan. 2020). “Because adequate representation is a purely legal question, it must
 25   be resolved judicially after the U.S. trustee’s administrative task is complete. Because the U.S.
 26   trustee does not produce a record or rationale for its decision, it is inaccurate to consider the
 27   standard of review under § 1102. Instead, it more appropriate to treat the court’s inquiry as an
 28   independent review of the adequacy of representation.” Id.


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  1            Adequate representation is not defined under § 1102. Id. Courts have employed a variety
  2   of factors to determine whether representation is adequate, including (1) the ability of the
  3   committee to function, (2) the nature of the case, (3) the standing and desires of the various
  4   constituencies, (4) the ability for creditors to participate in the case without an official committee,
  5   (5) the possibility that different classes would be treated differently under a plan and need
  6   representation, and (6) the motivation of the movant. Id. at 207-208 (quoting Shorebank, 467 B.R.
  7   at 162).
  8            In addition, courts may also consider whether a committee member has a conflict of
  9   interest with the creditor body it represents. Shorebank, 467 B.R. at 161; Cont’l Cast Stone, 625
 10   B.R. at 208. “The mere presence of conflicts, though, is insufficient to show a lack of adequate
 11   representation.” Shorebank, 467 B.R. at 161. “Because a committee represents the interests of all
 12   unsecured creditors, and because those creditors inevitably have different interests, courts
 13   recognize that conflicts are inherent in any committee.” Id. “Before a conflict necessitates
 14   reconstitution of a committee, then, there must be specific evidence that the committee member or
 15   members with the conflict have breached or are likely to breach their fiduciary duties [to the other
 16   creditors].” Id. (citing cases).
 17            Conflicts of interest often arise when insiders are placed on a committee. 7 COLLIER ON
 18   BANKRUPTCY ¶ 1102.02[2][a][vi].4 “[I]nsiders have an obvious potential conflict of interest in
 19   that they have a relationship to the debtor separate from their relationship as a creditor. There is
 20   also the concern that confidential communications among creditors’ committee members will be
 21   disclosed to the debtors.” Id.
 22            “Most decisions considering this issue have held that insiders should not be excluded on a
 23   per se basis from serving on a creditors’ committee. Instead, “[t]he relationship between a
 24   particular insider and the debtor can be examined ... on a case by case basis to determine whether
 25   the relationship justifies exclusion of the person from the creditors’ committee.” Id. (citing In re
 26
 27
      4
        As a practical matter, this is a relatively rare occurrence as “most insiders with claims against the debtor do not get
 28   invited to serve on the creditors’ committee for the simple reason that they do not appear on the list of 20 largest
      creditors filed by the debtor pursuant to Rule 1007(d) of the Federal Rules of Bankruptcy Procedure.” Id.

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  1   Venturelink Holdings, Inc., 299 B.R. 420 (Bankr. N.D. Tex. 2003) (as a matter of public policy,
  2   former officers or directors should not be allowed to serve on a creditors’ committee); In re Nyack
  3   Autopartstores Holding Co., 98 B.R. 659 (Bankr. S.D.N.Y. 1989) (insiders not per se excluded
  4   from committee; cousin of chief operating officer allowed to serve on committee); In re Swolsky,
  5   13 C.B.C.2d 985, 55 B.R. 144 (Bankr. N.D. Ohio 1985) (husband of key employee of debtor
  6   removed from committee); In re Salant Corp., 53 B.R. 158 (Bankr. S.D.N.Y. 1985) (non-
  7   management employees with claims should be represented on creditors’ committee); In re
  8   Glendale Woods Apts., Ltd., 25 B.R. 414 (Bankr. D. Md. 1982) (insiders removed from committee
  9   due to concerns over confidentiality of communications among committee members); In re
 10   Vermont Real Estate Inv. Trust, 6 C.B.C.2d 862, 20 B.R. 33 (Bankr. D. Vt. 1982) (insiders not per
 11   se excluded from committee; wife of former president of debtor who is also defendant in lawsuit
 12   brought by debtor allowed to serve on creditors’ committee); In re Daig Corp., 17 B.R. 41 (Bankr.
 13   D. Minn. 1981) (father of debtor’s chairman should not serve on creditors’ committee)).
 14          Finally, it is axiomatic that a creditors committee consisting of a single creditor should not
 15   be appointed “for that is inherently inconsistent with the notion of a committee. Any single
 16   creditor ought to look after its rights in its own name.” In re M.H. Corp., 30 B.R. 266, 267
 17   (Bankr. S.D. Ohio 1983). See also 7 COLLIER ON BANKRUPTCY ¶ 1102.02[2][a][vi] (“A
 18   committee of one has been held insufficient.” (citing M.H. Corp.)).
 19               B.    The Committee Does Not Adequately Represent the Interests of Unsecured
 20                     Creditors
 21          The Committee does not adequately represent the interests of unsecured creditors.
 22          First, regarding the ability of the Committee to function, the Committee’s members have
 23   not cooperated with Debtor’s discovery efforts as to the most basic issue—the basis and amount
 24   for their claims against Debtor’s bankruptcy estate. Likewise, Betula and Phalanx have not
 25   explained nor documented the basis of their claims against Debtor’s bankruptcy estate.
 26   Meanwhile, Pennington has provided a contract and invoices demonstrating that has a claim
 27   against Betula—not the Debtor.
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  1           Second, regarding the nature of the case, the Committee was appointed on January 25,
  2   2022, exactly five months after the petition date and two months after Betty Zheng resigned as
  3   manager and SLC substituted in as Debtor’s counsel. The Debtor will propose a plan that (i)
  4   restructures the secured debt against the Los Angeles Properties, (ii) sells or refinances the
  5   Transferred Properties, (iii) prosecutes litigation claims against Debtor’s former management,
  6   including Betula, and (iv) pays 100% to allowed general unsecured claims (after resolving claim
  7   objections and state court litigation). There is no need for a committee in this case, especially at
  8   this late stage.
  9           Third, regarding the standing and desires of various constituencies, the Debtor will propose
 10   a plan that pays 100% to allowed general unsecured claims. There is no need for a Committee to
 11   protect the interests of holders of general unsecured claims that will receive 100% payment under
 12   the plan.
 13           Fourth, regarding the ability of creditors to participate in the case without an official
 14   committee, there are ten proofs of claim that assert general unsecured claims filed against Debtor’s
 15   estate. Five of those claimants are already represented by counsel: (1) Testa Capital Group, Inc.
 16   [POC 6] (represented by Giovanni Orantes), (2) Home Loans Unlimited, Inc. [POC 7]
 17   (represented by Giovanni Orantes), (3) Shawn Charles Sougose [POC 11] (represented by David
 18   Shevitz), (4) Phalanx (represented by Michael Chekian), and (5) Betula (represented by Peter
 19   Kim). The other five claimants assert claims that Debtor has already objected to (Craig Fry &
 20   Associates [Doc. 110], Pennington [Doc. 107]) or intends to object to in the near term
 21   (UltraSystems Environmental [POC 11], Land Design Consultants [POC 12], Betty Zheng [POC
 22   15]). All general unsecured creditors that the Committee represents are able to participate in this
 23   bankruptcy case and represent their self-interests without the Committee.
 24           Fifth, regarding the possibility that different classes would be treated differently, the
 25   Debtor’s proposed plan includes a single class of general unsecured claims in which all allowed
 26   claims will be paid in full. The allowance of these claims will be determined through Debtor's
 27   claim objections and not through any efforts by the Committee.
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  1          Sixth, regarding the motivation of the movant, the Debtor is proceeding in good faith by
  2   proposing a plan that pays all general unsecured claims in full. It is attempting to effectively
  3   reorganize. It is also notable that the Committee seeks to employ one of the most expensive
  4   bankruptcy law firms in the region, PSZJ, whose attorneys bill at twice the rate of Debtor’s
  5   attorneys (SLC) and whose paralegals even bill at rates higher than Debtor’s attorneys.
  6          These six factors demonstrate that the Committee does not adequately represent the
  7   interests of general unsecured claims.
  8               C.     The Court Should Remove Each Member of the Committee
  9          Finally, and most importantly, the Committee’s members are incapable of adequately
 10   representing the interests of the constituency they represent.
 11          Betula is an insider as it was a “person in control of the debtor” within the meaning of 11
 12   U.S.C. § 101(31)(B)(iii). As an insider, Betula has an “obvious potential conflict of interest in that
 13   they have a relationship to the debtor separate from their relationship as a creditor.” 7 COLLIER ON
 14   BANKRUPTCY ¶ 1102.02[2][a][vi]. This conflict is more than potential—it is actual and
 15   unavoidable—as Debtor is prosecuting litigation claims against Betula. Any recovery by the
 16   Debtor on these claims will inure to the benefit of holders of allowed general unsecured claims.
 17   Betula is likely to breach its fiduciary duties to general unsecured creditors by using the
 18   Committee to thwart Debtor’s prosecution of these claims. This makes Betula’s membership on
 19   the Committee untenable and grossly more offensive than those cases cited in COLLIER above in
 20   which courts removed insiders from committees for far more benign reasons.
 21          Pennington is a creditor Betula—not the Debtor. The Pennington Claim is frivolous in that
 22   it asserts a contract claim against Debtor when the contract attached to the Pennington Claim
 23   clearly shows it is between Pennington and Betula. Pennington simply does not have a contract
 24   with, or contract claim against, Debtor.
 25          Phalanx also does not have a claim against Debtor. While there is a signed contract
 26   between Phalanx and Debtor, Phalanx has failed to provide any explanation or documentation
 27   supporting its proof of claim. If Phalanx cannot answer the most basic questions about its proof of
 28   claim, then how can it be expected to fulfill its fiduciary obligations to other general unsecured


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  1   creditors? Moreover, even if the Court deferred deciding the merits of the Phalanx Claim pending
  2   an evidentiary hearing, it should be obvious that a single member committee “is inherently
  3   inconsistent with the notion of a committee.” M.H. Corp., 30 B.R. at 267. Phalanx “ought to look
  4   after its rights in its own name.” Id.
  5      IV.      CONCLUSION
  6            Based on the foregoing, the Debtor respectfully requests the Court change the membership
  7   of the Committee by removing Betula, Pennington, and Phalanx as members, and disbanding the
  8   Committee pursuant to 11 U.S.C. §§ 1102(a)(4) and 105(a), and any further relief the Court deems
  9   appropriate and just.
 10                                                Respectfully Submitted,
 11   Dated: March 1, 2022                         SHIODA, LANGLEY & CHANG, LLP
 12
                                                   /s/Christopher J. Langley
 13                                                Counsel for Jinzheng Group (USA), LLC,
 14                                                Debtor and Debtor in Possession

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  1                        DECLARATION OF CHRISTOPHER J. LANGLEY
  2          I, Christopher J. Langley, am the attorney duly authorized and admitted to practice law in
  3   this jurisdiction. I represent the Debtor and Debtor-in-possession Jinzhang Group (USA) LLC. I
  4   make this declaration in support of the Motion to Change Membership and Disband Official
  5   Committee of General Unsecured Creditors Pursuant to 11 U.S.C. §§ 1102(a)(4) and 105(a)
  6   (“Motion”), to which this declaration is attached.
  7          1.       Debtor is a single member LLC that is wholly owned by Mr. Jiaqing Yang. Mr.
  8   Yang currently resides in China and has not been to the United States since the global outbreak of
  9   Covid-19. Debtor was managed by Betty Zheng before the filing of this bankruptcy case.
 10          2.       Between August 2016 and July 2017, the Debtor acquired approximately 32
 11   contiguous acres in Los Angeles that it intended to develop (the “Los Angeles Properties”). The
 12   Los Angeles Properties have a total scheduled value of $26,316,600. They are cross-collateralized
 13   with a first priority deed of trust held by Royal Equity Lending to secure the amount of
 14   $9,353,009. POC 2. They are also encumbered with a tax lien for tax years 2019 and 2020. POC
 15   1. A table summarizing the Debtor’s real property holdings is attached hereto as Exhibit 1.
 16          3.       I am informed and believe that to further fund the development of the Los Angeles
 17   Properties, Mr. Yang transferred to the Debtor two single family homes that he personally owned
 18   (“Transferred Properties”) and which the Debtor borrowed against. See Ex. 1.
 19          4.       Beginning in December 2017, Ms. Zheng caused the Debtor to contract with Betula
 20   Lenta, Inc. (“Betula”), a real estate consultancy company, to assist it with the development of the
 21   Los Angeles Properties. Betula describes itself as “a team of the best real estate consultants
 22   providing solutions for real estate investors looking for opportunities to invest in development or
 23   investors for their developments.” https://www.betulalenta.com/about-us. Betula was directed by
 24   Jonathan Pae and David Park.
 25          5.       Ultimately, Debtor and Betula entered into three contracts (collectively, the “Betula
 26   Agreements”):
 27                  A “Predevelopment Consulting Agreement” dated December 7, 2017, in which the
 28                   Debtor agreed to pay Betula $2,594,000 for consulting services.


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  1                   A “Construction Management Agreement” dated June 22, 2018, in which the
  2                    Debtor agreed to pay Betula an additional $4,517,913.00 for “phase 2” services.1
  3                   A “CFD Bonds Procurement – CM – Development Agreement” dated March 13,
  4                    2019, in which the Debtor agreed to pay Betula an additional $6,224,490.00 for
  5                    “construction” services.
  6           6.       Debtor alleges that while the Betula Agreements totaled over $13,336,903.00 and
  7   much of the fees were paid, the Los Angeles Properties remain unentitled and undeveloped.
  8           7.       On August 24, 2021, Ms. Zheng and Betula caused the Debtor to file a voluntary
  9   petition under Chapter 11, initiating this Bankruptcy Case. 2 Mr. Pae, as CEO of Betula, signed
 10   the Debtor’s corporate authorization to file this bankruptcy case. Doc. 14 (Corporate
 11   Authorization). Likewise, Debtor’s SOFA, filed by Ms. Bullock, represents that Betula owned a
 12   10% interest in the Debtor. Doc. 30 (SOFA). It also represents that the Debtor paid $324,194 to
 13   Betula on “1/1 & 4/22/21” for the purpose of “Developer/Project Manager.” Id. True and correct
 14   copies of the Debtor’s Corporate Authorization and SOFA are attached hereto as Exhibit 6.
 15           8.       On or about November 29, 2021, Ms. Zheng resigned as the Debtor’s manager
 16   when my firm, Shioda Langley & Chang, LLP (“SLC”), began inquiring about the Debtor’s
 17   dealings with Betula, Mr. Pae, and Mr. Park.
 18           9.       On December 6, 2021, the Debtor filed a substitution of attorney naming SLC as its
 19   new counsel. That same day, Debtor filed a motion to employ SLC as new counsel and a motion
 20   to set a claims bar date. Doc. 49 (SLC Employment App); Doc. 51 (Motion for Bar Date). SLC
 21   bills at the hourly rates of $360 (associates) to $450 (partners), and $180 for paralegals. Doc. 49
 22   (SLC Employment App).
 23
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       It appears that to pay for this contract, Betula assisted Debtor in obtaining a short-term loan (18 months) for
      $7,000,000 from BOBS LLC with a balloon payment due April 1, 2020. BOBS LLC later transferred the claim to
 25   Royalty Equity Lending (POC 2).
      2
 26     Ms. Bullock has described Betula as the “Project Manager” for the Debtor’s development of the Los Angeles
      Properties, and was responsible for, among other things, obtaining financing for the project and employing Ms.
 27   Bullock to file this bankruptcy case. See Opposition to Motion by Debtor to Determine Whether Compensation Paid
      to Counsel Was Excessive Under 11 USC § 329 and FRBP 2017 [Doc. 101] at 4-7; Declaration of Donna Bullock in
      Opposition to Motion by Debtor to Determine Whether Compensation Paid to Counsel Was Excessive [Doc. 103] at
 28   ¶¶ 2-5. In these pleadings, Ms. Bullock repeatedly refers to Betula, specifically Mr. Pae and Mr. Park, as party to
      Debtor’s management team.

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  1          10.     Shortly thereafter, SLC started formally investigating the Debtor’s dealings with
  2   Betula by noticing the 2004 examinations of Mr. Pae and Mr. Park. See Doc. 60, 72, 73 (Orders
  3   Approving 2004 Examinations). To date, neither Mr. Pae nor Mr. Park have appeared for their
  4   2004 examinations. Pursuant to a stipulation by the Parties, Mr. Pae and Mr. Park are to appear
  5   for their examinations on March 2 and 3, 2022, respectively.
  6          11.     The claims bar date was February 4, 2022. Doc. 55 (Order Setting Last Day to File
  7   Claim). To date, twenty-one (21) proofs of claim have been filed against the Debtor’s bankruptcy
  8   estate. A table summarizing the proofs of claim filed is attached hereto as Exhibit 2.
  9          12.     On February 7, 2022, Debtor filed a complaint against two sets of defendants (i)
 10   Mr. Pae, Mr. Park, and Betula Lenta, Inc. (the “Betula Parties”), and (ii) Ms. Zheng and her real
 11   estate company, CBW Global, Inc. (the “Zheng Parties”), with the Superior Court of California,
 12   County of Los Angeles, initiating Jinzheng Group (USA), LLC v. Pae et al, Case No.
 13   22STCV04623 (“SC Action”). A copy of the complaint (“SC Complaint”) is attached hereto as
 14   Exhibit 3.
 15          13.     In the SC Complaint, the Debtor alleges that Betula is the alter ego of Mr. Pae and
 16   Mr. Park, and that CBW Global is the alter ego of Ms. Zheng. The Debtor alleges that Ms. Zheng
 17   introduced the Debtor’s sole managing member, Mr. Yang, to Mr. Pae and Mr. Park, on behalf of
 18   themselves and Betula, to assist Debtor in developing the Los Angeles Properties. The Debtor
 19   alleges that Ms. Zheng, Mr. Pae, and Mr. Park conspired to charge it over $12 million in false
 20   service fees pursuant to the Betula Agreements described above.
 21          14.     The SC Complaint pleads causes of action for (i) breach of contract against the
 22   Betula Parties, (ii) intentional misrepresentation against the Betula and Zheng Parties, (iii)
 23   negligent misrepresentation against the Betula and Zheng Parties, (iv) negligence against the
 24   Betula and Zheng Parties, (v) breach of fiduciary duty against the Zheng Parties, (vi) aiding and
 25   abetting against the Betula and Zheng Parties, an (vii) unfair business practices against the Betula
 26   and Zheng Parties. The Debtor seeks general damages in excess of $5,000,000, plus special
 27   damages, punitive damages, and attorney’s fees and costs.
 28          15.     To date, the Betula and Zheng Parties have not responded to the complaint.


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  1          16.     On January 25, 2022, the United States Trustee (“UST”) filed a Notice of
  2   Appointment and Appointment of Committee of Creditors Holding Unsecured Claims [Doc. 93],
  3   appointing a committee of unsecured creditors (“Committee”) including (i) Betula Lenta, Inc., (ii)
  4   Pennington Construction Advisors, Inc., and (iii) The Phalanx Group.
  5          17.     Each of the Committee’s members have filed proofs of claim. Debtor has objected
  6   to each those claims, which are set for hearing concurrently with this Motion.
  7          18.     Betula filed a proof of claim (POC 18) for a general unsecured claim in the amount
  8   of $1,643,977.00 (“Betula Claim”). The basis of the Betula Claim is “Services performed.
  9   Expenses paid to 3rd parties per contract. Consulting.” It attaches copies of the Betula
 10   Agreements but does not provide any narrative or accounting beyond that.
 11          19.     In response to SLC’s requests, Betula has provided me a summary that is devoid of
 12   meaningful detail (other than acknowledging Debtor paid $6,971,726 to Betula):
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      Betula Claim Objection [Doc. 120], Langley Dec., Ex. B (Email from Betula counsel).
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             20.     On February 19, 2022, Debtor objected to the Betula Claim [Doc. 120] (“Betula
 24
      Claim Objection”), arguing that Betula has not (i) provided a report describing the services it
 25
      performed to date, (ii) explained why it is entitled to payment on 65% of the contracted services,
 26
      or (iii) appeared to testify at the 2004 examinations of Mr. Pae and Mr. Park (which are now
 27
      scheduled for March 2 and 3, 2022).
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  1            21.      Pennington filed a proof of claim (POC 20) for a general unsecured claim in the
  2   amount of $75,000.00 (“Pennington Claim”). The basis of the Pennington Claim is “Services
  3   performed per contract and not paid.” Emphasis added. It attaches copies of proposals and
  4   agreements between it and Betula. Debtor is not a party to those proposals and agreements. The
  5   Pennington Claim does not attach any contract between it and Debtor.
  6            22.      On February 16, 2020, Debtor objected to the Pennington Claim [Doc. 107]
  7   (“Pennington Claim Objection”), arguing that there is no contract between Debtor and Pennington
  8   and therefore the Pennington Claim (based on contract) must be disallowed.
  9            23.      Phalanx filed a proof of claim (POC 17) for a general unsecured claim in the
 10   amount of $158,845.00 (“Phalanx Claim”). The basis of the Phalanx Claim is “services
 11   performed.” It attaches a copy of a “Security Consulting Agreement” between Phalanx and
 12   Debtor.3 The agreement’s recitals define Phalanx as either a “Security Company” or “Security
 13   Consultant” that “operates a business of providing security recommendations and management
 14   services of security related matters.” It further recites that “[Phalanx] desires to provide security
 15   and patrol services recommendation to [Debtor] at [Debtor’s] property and [Debtor] desires to
 16   obtain such services from [Phalanx].”
 17            24.      On February 17, 2022, Debtor objected to the Phalanx Claim [Doc. 1133]
 18   (“Phalanx Claim Objection”), arguing there is no evidence that Phalanx actually performed the
 19   services contracted for or that Phalanx (as a private patrol operator) was licensed to perform such
 20   security consulting services. See Bus. & Prof. Code § 7582.3, L.A. Municipal Code § 52.34(b).
 21            25.      In response to the Phalanx Claim Objection, a legal assistant for Phalanx’s counsel
 22   sent an email to SLC that (i) acknowledged Phalanx does not have a private patrol operator
 23   license, (ii) insisted Phalanx provided “consultation for security issues and not actual private guard
 24   work for which a security license is required”, and (iii) represented that none of the fees owed are
 25   for any guard services or for services provided by a 3rd party vendor. A copy of said email is
 26
 27   3
        The Security Consulting Agreement was signed by Anthony Rodriguez on behalf of Phalanx on May 1, 2019, and by
      Betty Zheng on behalf of Debtor on August 1, 2019. Phalanx Claim, Part 2 (Security Consulting Agreement) at 5 (of
 28   6). It is not clear why three months passed between the parties executing the agreement. Nonetheless, Phalanx issued
      invoices to Betula (not Debtor) on April 29, June 1, July 1, and August 1, 2019. Id., Part 4 (Invoices) at 1-4 (of 32).

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  1   attached hereto as Exhibit 4. To date, Phalanx has not provided any explanation of what
  2   “consultation” services it provided Debtor to justify its claim against Debtor’s bankruptcy estate.
  3          26.      On February 1, 2022, SLC sent a letter to the Hatty Yip, Trial Attorney with the
  4   Office of the United States Trustee (“UST”), asking her to reconsider her office’s appointment of
  5   the Committee. A copy of said letter is attached hereto as Exhibit 5. Ms. Yip responded that she
  6   would look into Debtor’s concerns. To date, however, the UST has not taken any action to
  7   address them.
  8          27.      On February 8, 2022, the Committee filed an application to employ Pachulski
  9   Stang Ziehl & Jones LLP (“PSZJ”) as counsel. Doc. 98. PSZJ’s attorneys bill at the hourly rates
 10   of $975 to $1,145 (partners), and $495 for paralegals. PSZJ’s attorneys bill at hourly rates that are
 11   more than double that of Debtor’s counsel. Even PSZJ’s paralegals bill at rates higher than
 12   Debtor’s attorneys.
 13          28.      On February 22, 2022, Debtor objected to the PSZJ employment application and
 14   requested a hearing. Doc. 125.
 15          29.      Before the hearing on this Motion, Debtor will propose a plan of reorganization
 16   that will restructure the secured debt against the Los Angeles Properties, sell the San Marino
 17   Property, sell or refinance the Van Nuys Property, and pay all allowed general unsecured claims in
 18   full after claim objections and pending state court litigation. The plan will be funded by capital
 19   contributions by Debtor’s principal, Mr. Yang. As the plan will pay allowed general unsecured
 20   claims in full, I believe there is no need for the Committee in this case.
 21          30.      Also, there are ten proofs of claim that asserts general unsecured claims filed
 22   against Debtor’s estate. See Ex. 2. Five of those claimants are already represented by counsel: (1)
 23   Testa Capital Group, Inc. [POC 6] (represented by Giovanni Orantes), (2) Home Loans Unlimited,
 24   Inc. [POC 7] (represented by Giovanni Orantes), (3) Shawn Charles Sougose [POC 11]
 25   (represented by David Shevitz), (4) Phalanx (represented by Michael Chekian), and (5) Betula
 26   (represented by Peter Kim). The other five claimants assert claims that Debtor has already
 27   objected to (Craig Fry & Associates [Doc. 110], Pennington [Doc. 107]) or intends to object to in
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  1   the near term (UltraSystems Environmental [POC 11], Land Design Consultants [POC 12], Betty
  2   Zheng [POC 15]).
  3
  4          I declare under penalty of perjury under the laws of the United States of America that the
  5   foregoing is true and correct to the best of my knowledge.
  6
      Dated: February 1, 2022                             By: /s/Christopher J. Langley
  7                                                             Christopher Langley
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  1
  2                                      PROOF OF SERVICE OF DOCUMENT

  3   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 4158 14th Street, Riverside, CA 92501
  4
      A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND
  5   MOTION TO CHANGE MEMBERSHIP AND DISBAND OFFICIAL COMMITTEE OF UNSECURED
      CREDITORS PURSUANT TO 11 U.S.C. § 1102(a)(4) AND 105(a); DECLARATION OF CHRISTOPHER
  6   LANGLEY IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the
      form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
  7
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  8   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On (date) March 1, 2022, I checked the CM/ECF docket for this bankruptcy
  9   case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
      List to receive NEF transmission at the email addresses stated below:
 10
                                                         Service information continued on attached page
 11
      2. SERVED BY UNITED STATES MAIL:
      On (date) March 1, 2022, I served the following persons and/or entities at the last known addresses in this
 12   bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
      in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge here
 13   constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 14
      Honorable Ernest M. Robles
 15   Edward R. Roybal Federal Building and Courthouse
      255 E. Temple Street, Suite 1560 / Courtroom 1568
 16   Los Angeles, CA 90012

 17                                                      Service information continued on attached page

 18   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
      (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
 19   (date) March 1, 2022, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
 20   email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
 21
 22                                                      Service information continued on attached page

 23   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 24     March 1, 2022            John Martinez                               /s/John Martinez
        Date                     Printed Name                                Signature
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
hyperlink to the document. On (date) March 1, 2022, I checked the CM/ECF docket for this bankruptcy
case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
List to receive NEF transmission at the email addresses stated below:

Donna C Bullock donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
Steven P Chang heidi@spclawoffice.com,
schang@spclawoffice.com,assistant1@spclawoffice.com,attorney@spclawoffice.com;g9806@not
ify.cincompass.com;changsr75251@notify.bestcase.com
Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
Susan Titus Collins scollins@counsel.lacounty.gov
Jeffrey W Dulberg jdulberg@pszjlaw.com
Richard Girgado rgirgado@counsel.lacounty.gov
M. Jonathan Hayes jhayes@rhmfirm.com,
roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;russ@rh
mfirm.com;david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com
Teddy M Kapur tkapur@pszjlaw.com, mdj@pszjlaw.com
Christopher J Langley chris@slclawoffice.com,
omar@slclawoffice.com;langleycr75251@notify.bestcase.com
Benjamin R Levinson ben@benlevinsonlaw.com, courtney@benlevinsonlaw.com
Eric A Mitnick MitnickLaw@aol.com, mitnicklaw@gmail.com
Giovanni Orantes go@gobklaw.com, gorantes@orantes-
law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify
.bestcase.com
Matthew D. Resnik matt@rhmfirm.com,
roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@r
hmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;
sloan@rhmfirm.com
Allan D Sarver ADS@asarverlaw.com
David Samuel Shevitz david@shevitzlawfirm.com,
shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com;Jose@shevitzlawfirm.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov
               Case 2:21-bk-16674-ER   Doc 135 Filed 03/01/22 Entered 03/01/22 16:02:36 Desc
Label Matrix for local noticing         ChekianDocument
                                       Main     Law Office, Inc. Page 26 of 29 Employment Development Dept.
0973-2                                  Chekian Law Office, Inc.                        Bankruptcy Group MIC 92E
Case 2:21-bk-16674-ER                   445 South Figueroa Street                       P.O. Box 826880
Central District of California          31st Floor                                      Sacramento, CA 94280-0001
Los Angeles                             Los Angeles, CA 90071-1635
Tue Mar 1 15:45:40 PST 2022
Franchise Tax Board                     Internal Revenue Service                        Investment Management Company LLC
Bankruptcy Section MS: A-340            PO Box 7346                                     Law Offices Allan Sarver
P.O. Box 2952                           Philadelphia, PA 19101-7346                     16000 Ventura Blvd
Sacramento, CA 95812-2952                                                               Suite 1000
                                                                                        Encino, CA 91436-2762

JINZHENG GROUP (USA) LLC                (p)LOS ANGELES COUNTY TREASURER AND TAX COLLE   (p)OFFICE OF FINANCE CITY OF LOS ANGELES
100 E. Huntington Drive                 ATTN BANKRUPTCY UNIT                            200 N SPRING ST RM 101 CITY HALL
Ste. 207                                PO BOX 54110                                    LOS ANGELES CA 90012-3224
Alhambra, CA 91801-1022                 LOS ANGELES CA 90054-0110


Orantes Law Firm, P.C.                  Securities & Exchange Commission                Los Angeles Division
The Orantes Law Firm, P.C.              444 South Flower St., Suite 900                 255 East Temple Street,
3435 Wilshire Blvd., suite 2920         Los Angeles, CA 90071-2934                      Los Angeles, CA 90012-3332
los angeles, CA 90010-2015


Accutax Services                        American Modern Insurance                       BETTY ZHENG
9040 Telstar Ave Ste 105                7000 Midland Blvd                               28 N. 3RD ST. #b513
El Monte CA 91731-2838                  Amelia OH 45102-2608                            ALHAMBRA, CA 91801-6234



BOBS LLC                                BREEZEBLOCK CAPITAL, LLC                        Bamboo Insurance
Attn: Barry Shy                         c/o Pacific Mortgage Exchange, Inc.             7050 Union Park Center Ste 400B
7525 Avalon Bay St                      P.O. Box 2836                                   Midvale UT 84047-6055
Las Vegas, NV 89139-5307                Big Bear Lake, CA 92315-2836


Bentula Lenta, Inc.                     Best Alliance                                   Betula Lenta Inc.
David Park                              16133 Ventura Blvd.                             800 West 6th Street
800 W. 6th Street                       Suite 700                                       Suite 1250
Suite 1250-B                            Encino, CA 91436-2406                           Los Angeles, CA 90017-2721
Los Angeles, CA 90017-2704

Build Group Construction Co             California American Water                       Corona Capital Group, LLC
700 Flower St 575                       8657 Grand Ave                                  1222 Crenshaw Blvd.
Los Angeles CA 90017-4122               Rosemead CA 91770-1220                          #B
                                                                                        Torrance, CA 90501-2496


Craig Fry & Associates                  Craig Fry and Associates                        DNQ LLC
990 S. Arroya Pkwy, #4                  990 Arroyo Parkway #4                           Jason D Wang
Pasadena, CA 91105-3920                 Pasadena, CA 91105-3920                         6145 W Spring Mountain Rd. #205
                                                                                        Las Vegas NV 89146-8819


David S Zu                              David Z. Su                                     Donna Bullock
100 N Citrus St Ste 330                 100 N. Citrus Street Ste 615                    Attorney at Law
West Covina CA 91791-1674               West Covina, CA 91791-6600                      800 W 6th St
                                                                                        Suite 1250
                                                                                        Los Angeles, CA 90017-2721
               Case 2:21-bk-16674-ER   Doc 135 Filed 03/01/22 Entered 03/01/22 16:02:36 Desc
Donna Bullock Esq                       EFI Global
                                       Main    Document  Page 27 of 29    Franchise Tax Board Chief Counsel
Law Offices of Donna Bullock            5261 W Imperial Hwy                      c/o General Counsel Section
800 W 6th St Suite 1250                 Los Angeles CA 90045-6231                P.O. Box 720, MS: A-260
Los Angeles CA 90017-2721                                                        Rancho Cordova, CA 95741-1720


Griffin Underwriters                    Home Loans Unlimited                     Home Loans Unlimited, Inc.
PO Box 3867                             Attn Daniel Triana                       28859 Phantom Trail
Bellevue WA 98009-3867                  28859 Phantom Trail                      Santa Clarita, CA 91390-5295
                                        Santa Clarita, CA 91390-5295


Investment Management Company           Jade Capital                             Jianqing Yang
1507 7th Street, #344                   333 Thornall St Ste 101                  PO Box 3702
Santa Monica, CA 90401-2605             Edison NJ 08837-2220                     Alhambra CA 91803-0702



LA City Treasurer and Tax Collector     Land Design Consultants                  Law Offices of Matthew C. Mullhofer
255 N Hill St 1st Fl                    800 Royal Oaks Drive                     2107 N. Broadway
Los Angeles CA 90012-2705               Suite 104                                Suite 103
                                        Monrovia, CA 91016-6364                  Santa Ana, CA 92706-2633


Los Angeles Treasurer Tax Collector     Marc Cohen                               Michael Carlin
P.O. Box 54018                          Cohen Law Group, APC                     PO Box 67132
Los Angeles, CA 90054-0018              541 S. Spring Street                     Century City, CA 90067-0132
                                        Ste. 1208
                                        Los Angeles, CA 90013-1667

Michael E. Dorff and Shari L. Dorff     Office of the United States Trustee      Overland Traffic Consultants
3239 Bordero Lane                       915 Wilshire Blvd.                       952 Manhattan Beach Blvd 100
Thousand Oaks, CA 91362-4659            Los Angeles, CA 90017-3409               Manhattan Beach CA 90266-5112



Pacific Geotech Inc                     Pacific Mortgae Exchange, Inc.           Pennington Construction Advisors Inc
Attn Jirayus Pukkansasut                73241 Hwy. 111, Ste. 1-A                 Attn: Todd C. Pennington
15038 Clark Ave                         Palm Desert, CA 92260-3921               79 Bell Pasture Rd
Hacienda Heights CA 91745-1408                                                   Ladera Ranch CA 92694-1558


Phalanx                                 (p)ROYAL BUSINESS BANK                   Royalty Equity Lending LLC
424 E. 15th Street                      1055 WILSHIRE BLVD SUITE 1220            600 S. Spring Street
Suite 10                                LOS ANGELES CA 90017-3103                Suite 106
Los Angeles, CA 90015-3140                                                       Los Angeles, CA 90014-1979


Shawn Charles Sourgose                  State Farm Insurance                     Testa Capital Group
2111 Seville Drive                      PO Box 588002                            Attn Thomas L Testa
Santa Paula, CA 93060-8042              North Metro GA 30029-8002                620 Newport Center Drive
                                                                                 Suite 1100
                                                                                 Newport Beach, CA 92660-8011

The Alison Company                      The Code Solution, Inc.                  The Orantes Law Firm APC
2060 D Avenida De Los Arboles           Attn Jamie Cho                           3435 Wilshire Blvd. Ste 2920
#471                                    800 W. 6th Street                        Los Angeles, CA 90010-2015
Thousand Oaks, CA 91362-1376            Suite 1250 A
                                        Los Angeles, CA 90017-2721
                  Case 2:21-bk-16674-ER              Doc 135 Filed 03/01/22 Entered 03/01/22 16:02:36                               Desc
The Phalanx Group                                     The Phallanx
                                                     Main          Group
                                                             Document    Page 28 of 29  The Phallanx Group
424 E. 15th St Ste 10                                  Anthony Rodriguez                                    Anthony Rodriguez
Los Angeles, CA 90015-3140                             424 E 15th St Ste 10                                 424 E. 1st Street, Unit #10
                                                       Los Angeles CA 90015-3140                            Los Angeles CA 90012


UltraSystems Environmental                             United States Trustee (LA)                           Yepez Gardening Services
Attn Hassan Ayati                                      915 Wilshire Blvd, Suite 1850                        2121 N Marengo Ave
16431 Scientific Way                                   Los Angeles, CA 90017-3560                           Pasadena CA 91001
Irvine, CA 92618-4355


Christopher J Langley                                  Donna Bullock Carrera                                Matthew Resnik
Shioda, Langley & Chang LLP                            LAW OFFICES OF DONNA BULLOCK                         RHM LAW LLP
4158 14th St.                                          800 W 6th St                                         17609 Ventura Blvd. Suite 314
Riverside, CA 92501-3426                               Ste 1250                                             Encino, CA 91316-5132
                                                       Los Angeles, CA 90017-2721



                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


L.A. County Tax Collector                              Los Angeles City Clerk                               (d)Los Angeles County Tax Collector
Bankruptcy Unit                                        P.O. Box 53200                                       225 N. Hill Street, #1
P.O. Box 54110                                         Los Angeles, CA 90053-0200                           Los Angeles, CA 90012
Los Angeles, CA 90051-0110


(d)Los Angeles County Tax Collector                    (d)Los Angeles County Treasurer and Tax Colle        Royal Business Bank
P.O. Box 54018                                         Attn: Bankruptcy Unit                                1055 Wilshire Blvd.
Los Angeles, CA 90054-0018                             PO Box 54110                                         Suite 1220
                                                       Los Angeles, CA 90054-0110                           Los Angeles, CA 90017




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(u)Courtesy NEF                                        (u)INTERESTED PARTY                                  (u)Michael E. Dorff and Shari L. Dorff




(u)OFFICIAL COMMITTEE OF UNSECURED CREDITORS           (u)Royalty Equity Lending, LLC/Bobs LLC              (u)Shioda Langley and Chang LLP




(d)Employment Development Department                   (d)Franchise Tax Board                               (d)Internal Revenue Service
Bankruptcy Group MIC 92E                               Bankruptcy Section, MS:A-340                         P.O. Box 7346
P.O. Box 826880                                        P.O. Box 2952                                        Philadelphia, PA 19101-7346
Sacramento, CA 94280-0001                              Sacramento, CA 95812-2952
               Case 2:21-bk-16674-ER       Doc 135 Filed 03/01/22 Entered 03/01/22 16:02:36           Desc
(u)Ji Anqi Ngyang                           (d)Jinzheng
                                           Main         Group (USA) LLCPage 29 of 29
                                                   Document                          (u)Jay Wu
66 Yuhua West Rd                            100 E. Huntington Dr. Ste 207        LT Management Group Estate
Shi Ji Azhuang Hebei Province 050000 Chi    Alhambra, CA 91801-1022



End of Label Matrix
Mailable recipients   68
Bypassed recipients   12
Total                 80
